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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                       MEMPHIS DIVISION

JAMES E. SMITH AND ASTRID SMITH,
    Plaintiffs,

v.                                                Civil No. _____________

NATIONWIDE MUTUAL FIRE
INSURANCE COMPANY

        Defendant.


                             NOTICE OF REMOVAL OF A CIVIL ACTION


        The defendant, Nationwide Mutual Fire Insurance Company (hereinafter

“Nationwide”), by and through counsel, pursuant to 28 U.S.C. § 1446, gives notice of

removal of this action from the Circuit Court of Shelby County, Tennessee, to the United

States District Court for the Western District of Tennessee, and alleges as follows:

        1.       On March 12, 2009, plaintiffs filed suit against Nationwide in the Circuit

Court for Shelby County, Tennessee, where said action is now pending under Docket

Number CT-001244-09. A copy of the suit filed by plaintiffs in the Circuit Court for

Shelby County, Tennessee, is attached as Exhibit 1.

        2.       On April 28, 2009, Nationwide was served with a Summons and

Complaint by service on the Commissioner of Insurance for the State of Tennessee.

        3.       No further proceedings have been had in the Circuit Court for Shelby

County, Tennessee.

        4.       The entire amount in controversy exceeds, exclusive of interest and costs,

the sum of Seventy Five Thousand Dollars ($75,000.00).



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        5.       This action only involves citizens and residents of different states. At the

time of the commencement of the action in the Circuit Court of Shelby County,

Tennessee, and since that time, plaintiffs were and still are residents of Tennessee.

The defendant was, and still is, a corporation incorporated and organized in another

State than the State of Tennessee, with its principal place of business in another State

than the State of Tennessee.

        6.       This Court has original jurisdiction over the above-styled action, pursuant

to the provisions of 28 U.S.C. § 1332 (a) and (c), and because the defendant is not a

citizen or resident of the State of Tennessee, and the amount in controversy exceeds

$75,000.00 exclusive of interest and costs. Therefore, removal to this Court is proper,

pursuant to 29 U.S.C. § 1441 (a).

        WHEREFORE, Nationwide gives notice of the removal of this action from the

Circuit Court for Shelby County, Tennessee, to the United States District Court, Western

District of Tennessee.


                                                   Respectfully submitted,

                                                   s/Gary A. Brewer
                                                   GARY A. BREWER
                                                   Registration No. 4678
                                                   Attorney for Nationwide Mutual Fire
                                                   Insurance Company

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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of May, 2009, a copy of the foregoing
NOTICE OF REMOVAL OF A CIVIL ACTION was filed electronically. Notice of this
filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S.
Mail. Parties may access this filing through the Court’s electronic filing system.


Jonathan E. Scharff, Esquire                     Jimmy Moore
Harris Shelton Hanover Walsh, PLLC               Circuit Court, 30th Judicial District
One Commerce Square, Suite 2700                  Shelby County Courthouse
Memphis, TN 38103-2555                           140 Adams Avenue, Room 224
jscharff@harrisshelton.com                       Memphis, TN 38103



                                                   s/Gary A. Brewer
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